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Notice of Voluntary dismissal




                                        /S/ N. Dulal
   Ruby J. Krajick                                                  09/23/2020
                                                                   05/16/2022
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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §              CASE NO.: 1:20-cv-07816-LJL-KHP
                                      §
vs.                                   §
                                      §
LEANTEGRA, INC.,                      §
                                      §
      Defendant.                      §
_____________________________________ §

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Plaintiff Display Technologies, LLC (“Plaintiff” and/or “Display”) files this Notice of

Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant Leantegra, Inc.

without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.

Dated: May 12, 2022.                         Respectfully submitted,

                                             /s/Jay Johnson
                                             JAY JOHNSON
                                             State Bar No. 24067322
                                             D. BRADLEY KIZZIA
                                             State Bar No. 11547550
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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed electronically on
May 12, 2022 and was served via CM/ECF on all counsel who are deemed to have consented to
electronic service.

                                        /s/Jay Johnson
                                        JAY JOHNSON




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